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10
                                     UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLAND DIVISION
13

14   UNITED STATES OF AMERICA,                      )   CASE NO. 4:21-cr-00429-YGR
                                                    )
15           Plaintiff,                             )   DECLARATION OF MOLLY PRIEDEMAN IN
                                                    )   SUPPORT OF UNITED STATES’ OPPOSITION
16      v.                                          )   TO DEFENDANT’S MOTION FOR NEW
                                                    )   TRIAL
17   RAY J. GARCIA,                                 )
                                                    )
18           Defendant.                             )   Date: March 15, 2023
                                                    )   Time: 2:00 pm
19                                                  )   Honorable Yvonne Gonzalez Rogers
                                                    )
20

21

22      I, Molly Priedeman, declare as follows:
23      1. I am an Assistant United States Attorney assigned to the above captioned case.
24      2. Over the course of this case, the government made more than two-dozen productions of discovery
25 to the defense. As part of those productions, the government provided more than 48,000 pages of

26 discovery as well as native versions of digital files and devices seized during the execution of search
27 warrants at FCI Dublin, Garcia’s vehicle, and Garcia’s residence.

28      3. On May 23, 2022, the government met with Garcia and his trial counsel, James Reilly, at the

     PRIEDEMAN DECL. ISO OPP. TO MOTION FOR NEW TRIAL
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 1 United States Attorney’s Office in Oakland. At that meeting, I showed Garcia and his counsel evidence

 2 the government planned to admit at trial, including naked photographs of Melissa and Rachel that were

 3 seized from his personal computer as well as photographs of Garcia’s penis that were found on his devices.

 4 I also informed Garcia that the government would admit evidence that Garcia searched for an application

 5 to “hide photos” on his work phone. All the materials discussed at this meeting had been previously

 6 provided to Garcia in the normal course of discovery.

 7      4. On December 3, 2022, Garcia’s trial counsel emailed to government counsel a memorandum from

 8 the defense investigator summarizing a November 23, 2022 interview he conducted with Daniel Flint. A

 9 true and correct copy of that memorandum is attached hereto as Exhibit 1.

10      5. In the same December 3, 2022 email, Garcia’s trial counsel indicated that he intended to call Flint

11 as a witness. Based on the contents of the memorandum, the Court’s pretrial rulings, and the status of the

12 evidence up to that point, the government responded that it would object to Flint’s testimony because Flint

13 did not have any relevant, admissible evidence to offer.

14      6. After receiving the government’s objections, on December 4, 2022, Garcia’s former counsel stated

15 that he would not call Flint. A true and correct copy of the email correspondence exchanged between the

16 government and Garcia’s former counsel regarding Flint is attached hereto as Exhibit 2.

17      I declare under penalty of perjury under the laws of the United States that the foregoing is true and

18 accurate to the best of my knowledge.

19      Executed this 23rd day of February, 2023, in Oakland, California.

20

21

22                                                       MOLLY K. PRIEDEMAN
                                                         Assistant United States Attorney
23

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     PRIEDEMAN DECL. ISO OPP. TO MOTION FOR NEW TRIAL
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    EXHIBIT 1
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US v. GARCIA
November 29, 2022
Flint Report


In fact, when Ray and Dan spoke about other BOP personnel who have been found
culpable of violating the law they agreed that they were disturbed by such conduct
because it reflects poorly on the Bureau as a whole.

        From Dan’s perspective, the charges against Ray make no sense and he doubts
that the alleged violations occurred. After 32 unblemished years with the BOP, why
would Ray just start to molest inmates? The notion that he molested several inmates
unnoticed is improbable in a prison with cameras everywhere, including in the housing
units, and doors to the Units that are locked so one needs a Unit Manager gain access.
Moreover, whenever a member of Executive Staff, especially the Warden, is out of their
office everyone knows where they are, both inmates and Staff. When the Warden or
Associate Wardens walk the units they are always accompanied by other Staff who Dan
said will, at very least, want to be close so they can explain whatever the Executive Staff
finds fault with. It is very rare for a Warden or any Executive Staff to be alone on the job
in a prison.

        Dan has conducted many prison investigations and is knowledgeable in this area.
He said that inmates are excellent manipulators and prone to uttering falsehoods. Dan
reports that when he’s investigated prison matters based on inmate statements nine out of
10 times they lies. Sometimes the inmate has a reason for lying but other inmates lie “just
for the thrill of it.” One technique BOP Staff have used for years involves catching an
inmate in violation of the law or institutional policy, and then leveraging the inmate to
work as an informant in exchange for not reporting or writing up the violation. In these
circumstances, taking or harvesting photos or videos of the inmate’s transgressions is one
valid way that Staff can document the inmate’s conduct. Sometimes a prison may have a
severe backlog of cases investigating inmate misconduct so Staff may reason that having
an inmate informant is more useful.

        Dan agrees that the Union and inmates have a common interest in taking
management down. He said that Ray knows BOP policy better than almost anyone, and
that Ray held his subordinates accountable to policy. Dean does not put it past the Union
to cultivate inmate complaints against management. At the same time, inmates know that
when they make accusations against Staff they can prevent the accused Staff from
advancing on the job, even if the accusations are shown to be false.




END




                                             2
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    EXHIBIT 2
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-Andrew

Andrew Paulson
Assistant United States Attorney
__________________________

From: Priedeman, Molly (USACAN) <Molly.Priedeman@usdoj.gov>
Sent: Saturday, December 3, 2022 6:57 PM
To: James Reilly <jim@summitdefense.com>; Paulson, Andrew (USACAN)
<Andrew.Paulson@usdoj.gov>
Subject: RE: U.S. v. Garcia - Dr. Maegan Malespini ... Possible Defense Witness Dan Flint
  
Hi Jim,
  
We do object to Mr. Flint’s testimony. Based on the report, it doesn’t appear that he has
any relevant or admissible evidence to offer. He never worked at FCI Dublin, he doesn’t
appear to have knowledge of FCI Dublin, or any of the witnesses other than your client.
Although it appears he does know Mr. Garcia, it doesn’t appear that anything he has to say
that would pertain to a potentially relevant character trait, and therefore be admissible.
  
Best,
  
Molly
  
Molly K. Priedeman
Assistant United States Attorney
________________________

From: James Reilly <jim@summitdefense.com>
Sent: Saturday, December 3, 2022 6:11 PM
To: Paulson, Andrew (USACAN) <APaulson@usa.doj.gov>
Cc: Priedeman, Molly (USACAN) <MPriedeman@usa.doj.gov>
Subject: [EXTERNAL] Re: U.S. v. Garcia - Dr. Maegan Malespini ... Possible Defense
Witness Dan Flint
  
You're welcome, Andrew.

On another subject, I have reconsidered my position regarding other defense witnesses and
am now contemplating calling one after Mr. Garcia's testimony is completed. This potential
witness is Dan Flint, a former BOP employee who worked closely with Mr. Garcia on a
variety of BOP issues over the years.

Attached is a copy of the report I received on November 29th from my investigator
regarding his interview of Mr. Flint. Mr. Flint now lives in Arizona and would therefore have
to travel here in order to testify.

Would appreciate it if you’d let me know whether or not you would object to him being
called as a witness? And if so, on what specific basis?

Thanks.

Jim
